                            UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA
Re:
        MARC RICCARDO PARTEE                                 Case No.: 1-16-01768-HWV
        CECELIA DARLENE PARTEE                               Chapter 13
                      Debtor(s)

                                   NOTICE OF FINAL CURE PAYMENT

Pursuant to the Fed. Bankr. Rule 3002.1(f), the Trustee gives Notice that the amount required to
cure the pre-petition default in the below claim has been paid in full and the Debtor(s) have
completed all payments under the plan.

PART 1:                             MORTGAGE INFORMATION
Creditor Name:                      FREEDOM MORTGAGE CORPORATION
Court Claim Number:                 34
Last Four of Loan Number:           1466/PRE ARREARS/68 DELTA RIDGE DR
Property Address if applicable:     68 DELTA RIDGE DRIVE, , DELTA, PA17314

PART 2:                            CURE AMOUNT
TOTAL CURE DISBURSEMENT MADE BY THE TRUSTEE
a. Allowed prepetition arrearages:                                            $1,948.78
b. Prepetition arrearages paid by the Trustee:                                $1,948.78
c. Amount of postpetition fees, expenses, and charges recoverable
   Under Bankruptcy Rule 3002.1(c):                                           $0.00
d. Amount of postpetition fees, expenses, and charges recoverable
   Under Bankruptcy Rule 3002.1(c) and paid by the Trustee:                   $0.00
e. Allowed postpetition arrearage:                                            $17,265.37
f. Postpetition arrearages paid by the Trustee:                               $17,265.37
g. Total b, d, f:                                                             $19,214.15

PART 3:                      POST PETITION MORTGAGE PAYMENT
Mortgage is paid thru the plan by the Trustee conduit.
Current Monthly Mortgage Payment: $3,160.36
Next postpetition payment due: APRIL 2021
If known, Principal Balance Outstanding: UNKNOWN

PART 4:               A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)

Within 21 days of the service of this Notice, the creditor must file and serve same on debtor,
debtor’s counsel and trustee, pursuant to Fed. Bankr. Rule 3002.1(g), a statement indicating
whether it agrees that the debtor has paid in full the amount required to cure the default, has paid
all outstanding post-petition fees, costs or escrow amounts due, and whether, consistent with
§1322(b)(5) of the Bankruptcy Code, the debtor is current on all post-petition payments as of the
date of this Notice or be subject to further action of the court including possible sanctions.


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To assist in reconciling the claim, a history of payments made by the Trustee is attached to copies
of this Notice sent to the Debtor and Creditor.

I certify that the information contained herein is true and correct to the best of my knowledge,
information and reasonable belief.

Dated: June 24, 2021                             Respectfully submitted,


                                                 s/ Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee
                                                 Suite A, 8125 Adams Drive
                                                 Hummelstown, PA 17036
                                                 Phone: (717) 566-6097
                                                 Fax: (717) 566-8313
                                                 eMail: info@pamd13trustee.com




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Creditor Name: FREEDOM MORTGAGE CORPORATION
Court Claim Number: 34
    CLM #   CHECK #    DATE         PRIN PAID         INT PAID   TOTAL DISB

    5200    1201734   05/09/2019     $247.09          $0.00       $247.09
    5200    1207213   09/26/2019     $299.93          $0.00       $299.93
    5200    1212276   01/16/2020     $260.68          $0.00       $260.68
    5200    1216243   04/14/2020     $210.50          $0.00       $210.50
    5200    1221427   09/17/2020     $207.59          $0.00       $207.59
    5200    1226005   01/19/2021     $376.15          $0.00       $376.15
    5200    1227029   02/17/2021     $70.05          $0.00       $70.05
    5200    1228037   03/17/2021     $66.11          $0.00       $66.11
    5200    2000433   05/18/2021     $210.68          $0.00       $210.68




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      MARC RICCARDO PARTEE                            Case No.: 1-16-01768-HWV
      CECELIA DARLENE PARTEE                          Chapter 13
                    Debtor(s)


                                 CERTIFICATE OF SERVICE
 I certify that I am more than 18 years of age and that on June 24, 2021, I served a copy of this
 Notice of Final Cure and History of Payments made on the following parties by 1st Class mail,
 unless served electronically.

  DAWN MARIE CUTAIA, ESQUIRE                         SERVED ELECTRONICALLY
  115 EAST PHILADELPHIA STREET
  YORK PA, 17401-


  FREEDOM MTG CORP                                   SERVED BY 1ST CLASS MAIL
  10500 KINCAID DR
  FISHERS, IN, 46037-9764


  MARC RICCARDO PARTEE                               SERVED BY 1ST CLASS MAIL
  CECELIA DARLENE PARTEE
  68 DELTA RIDGE DRIVE
  DELTA, PA 17314



 I certify under penalty of perjury that the foregoing is true and correct.


 Date: June 24, 2021                                 s/ Liz Joyce
                                                     Jack N. Zaharopoulos
                                                     Standing Chapter 13 Trustee
                                                     Suite A, 8125 Adams Drive
                                                     Hummelstown, PA 17036
                                                     Phone: (717) 566-6097
                                                     Fax: (717) 566-8313
                                                     eMail: info@pamd13trustee.com




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